        Case 1:17-cv-02989-AT Document 310 Filed 09/18/18 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNA CURLING, et al.,
                                                  CIVIL ACTION FILE
Plaintiffs,
                                                  NO. 1:17-CV-02989-AT
v.

BRIAN KEMP, et al.,

Defendants.


                           NOTICE OF APPEAL

      COME NOW Brian P. Kemp, in his official capacity as the Secretary of

State of the State of Georgia, and the members of the State Election Board

(David J. Worley, Rebecca N. Sullivan, Ralph F. Simpson, and Seth Harp) in

their official capacities and give notice of their appeal to the United States

Court of Appeals for the Eleventh Circuit from the Order dated September

17, 2018, (Doc. 309), which denied their Motion To Dismiss and subjects them

to suit and discovery despite their entitlement to immunity and asks that the

Court review any and all other threshold jurisdictional issues that, in its

discretion, the Court deems efficient and just.
      Case 1:17-cv-02989-AT Document 310 Filed 09/18/18 Page 2 of 4




    This 18th day of September, 2018.

                                        BARNES LAW GROUP, LLC

                                        /s/John F. Salter
                                        JOHN F. SALTER
                                        Georgia Bar No. 623325
                                        ROY E. BARNES
                                        Georgia Bar No. 039000
BARNES LAW GROUP, LLC
31 Atlanta Street
Marietta, GA 30060
(770) 227-6375
(770) 227-6373 (fax)
john@barneslawgroup.com
roy@barneslawgroup.com

   Attorneys for Defendants Brian P. Kemp, David J. Worley, Rebecca N.
Sullivan, Ralph F. "Rusty" Simpson, Seth Harp, & The State Election Board




                                  -2-
        Case 1:17-cv-02989-AT Document 310 Filed 09/18/18 Page 3 of 4




                    CERTIFICATE OF COMPLIANCE

      I hereby certify that I have read the Court’s Standing Order in Cases

Proceedings Before the Honorable Amy Totenberg and that I will comply with

its provisions during the pendency of this litigation.

                                            /s/John F. Salter

      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local

Rule 5.1 of the Northern District of Georgia, using a font type of Century

Schoolbook and a point size of 13.

                                            /s/John F. Salter




                                      -3-
          Case 1:17-cv-02989-AT Document 310 Filed 09/18/18 Page 4 of 4




                           CERTIFICATE OF SERVICE

      I hereby certify that on this date I have electronically filed the

foregoing NOTICE OF APPEAL with the Clerk of Court using the CM/ECF

system, which will send email notification of such filing to all attorneys of

record.

      This 18th day of September, 2018.

                                            BARNES LAW GROUP, LLC

                                            /s/John F. Salter
                                            JOHN F. SALTER
                                            Georgia Bar No. 623325
                                            ROY E. BARNES
                                            Georgia Bar No. 039000
BARNES LAW GROUP, LLC
31 Atlanta Street
Marietta, GA 30060
(770) 227-6375
(770) 227-6373 (fax)
john@barneslawgroup.com
roy@barneslawgroup.com

   Attorneys for Defendants Brian P. Kemp, David J. Worley, Rebecca N.
Sullivan, Ralph F. "Rusty" Simpson, Seth Harp, & The State Election Board




                                      -4-
